 PROB 5                      Report and Order Terminating Probation/Supervised Release
(Rev. 5/01)                               Prior to Original Expiration Date
                                                                                                US   DT
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                                             UNITED STATES DISTRICT COURT                  2016 al1r, 27 M          40
                                                       FOR THE
                                        SOUTHERN DISTRICT OF GEORGIA
                                             SAVANNAH DIVISION



              UNITED STATES OF AMERICA

                                                               Crim. No. 4:16CR00209-1

                       Joslynne L. Goeller


       On August 9, 2016, the above named was placed on probation for a period of twelve months. She has
complied with the rules and regulations of probation and is no longer in need of supervision. It is accordingly
recommended that Joslynne L. Goeller be discharged from supervision.

                                                              Respectfully submitted,



                                                              Ervin G. Fyfzier, II
                                                              United States Probation Officer


                                               ORDER OF THE COURT

       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

          Dated this               of August, 2016.




                                                              UNITED TATES MAGISTRATE JUDGE
                                                              SOUTHERN DISTRICT OF GEORGIA
